UST-10 COVER SHEET

 

MONTHLY FINANCIAL REPORT FOR
CORPORATE OR PARTNERSHIP DEBTOR

CaseNo. 20-4a345- ODL Report Month/Year “Vanuary 202)

Debtor Shilo Lan, Ocean Shores, LLC

INSTRUCTIONS: The debtor's monthly financial report shall include a cover sheet signed by the debtor and all UST forms and
supporting documents. Exceptions, if allowed, are noted in the checklist below. Failure to comply with the reporting requirements
of Local Bankruptcy Rule, or the United States Trustee's reporting requirements, is cause for conversion or dismissal of the case,

 

 

 

 

The debtor has provided the following with this monthly financial report: Yes No

UST-12 Comparative Balance Sheet or debtor's balance sheet. x o
The debtor's balance sheet, if used, shall include a breakd f pré- and post-petition liabilities. Th
breakdown may be provided as a separate attachment to the debtor's balance sheet.

 

 

UST-13 Comparative Income Statement or debtor's income statement.

 

UST-14 Summary of Deposits and Disbursements

 

| &|

UST-14 Statement(s) of Cash Receipts and Disbursements
Continuation A Continuation Sheet shall be completed for each bank account or other source of debtor funds and shall

 

 

Sheets include a monthly bank statement and all supporting documents described in the instructions.
UST-15 Statement of Aged Receivables ys

A detailed accounting of aged receivables shall be provided on, or in an attachment to, UST-15. GC
UST-16 Statement of Aged Post-Petition Payables Aa

A detailed accounting of aged post-petition payables shall be provided on, or in an attachment to, UST-16.

 

UST-17 Other Information nee 9
When applicable, attach supporting documents such as an escrow statement for the sale of real property or an
auctioneer's report for property sold atauction. When changes or renewals of insurance occur, attach a copy
of the new certificate of insurance or a copy of the bond.

 

 

 

 

 

 

CONTACT INFORMATION
Who is the best person to contact if the UST has questions about this report?
Name larry Chank, CED
Telephone |-"7 bt) - J0Z- 4085
Email larry. Chank @ shiloinns. Com
Monthly Financial Report - Corporate or Partnership Debtor Page 1 of 15
United States Trustee — Western District of Washington (Deo. 2017)

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Case Number QO - | a3 Us ~ADL
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Debtor Silo Law, OCean \,oi cot LC. Month Ending Mnuary 202!

 

 

DEBTOR’S CERTIFICATION

INSTRUCTIONS: The debtor, or trustee, if appointed, must answer questions 1 and 2 and sign this
financial report where indicated below. Only an officer or director has authority to sign a financial report

for a corporate debtor and only a general partner has authority to sign a financial report for a partnership
debtor. Debtor's counsel may not sign a financial report for the debtor.

Question 1 At month end, was the debtor delinquent on any Yes O No
post-petition tax obligation? if yes, list each delingtent

post-petition tax obligation on page 9.

 

Question 2 For purposes of calculating the debtor's obligation Complete page 6 to calculate TOTAL
under 28 U.S.C. 1930(a)(6) to pay a quarterly fee to the | OSBURSEMENTS and enter the total
United States Trustee, TOTAL DISBURSEMENTS this :

; .
month from all sources were: 5 UB 2 722 42
a

 

 

| certify under penaity of perjury that other information contained in this monthly financial report fs
complete, true, and accurate to the best of my knowledge information, and belief,

  

 

 

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Debtor’s Date “
signature 2/47 Ze Z.\
The on
Monthly Financial Report - Corporate or Parinership Debtor ——— Page 2 of 15
United States Trustee — Western Distnet of Wastington (Dee, 2017)

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Case Number 20-42 348-BdL

 

 

Debtor Shilo Lan Ocean Vhorgs, LL@ Month Ending January 202/

 

UST-12, COMPARATIVE BALANCE SHEET

 

 

 

 

As of month ending _

 

ASSETS
Current Assets
Cash

Cash - Held by Others
(Escrow & Attorney Trust Accounts)

 

 

 

 

Accounts Receivable (net)

 

Notes Receivable

 

Inventory

 

Prepaid Expenses
Other (attach list)

Total Current Assets

Fixed Assets
Real Property/Buildings
Equipment

 

 

 

 

 

 

Accumulated Depreciation
Total Fixed Assets
Other Assets (attach list)
TOTAL ASSETS

 

 

 

 

LIABILITIES
Post-Petition Liabilities

 

 

Taxes Payable

 

Other Accounts Payables

 

Notes Payable

 

Rents, Leases & Mortgages Payable

 

Accrued Interest
Other (specify)
Total Post-Petition Liabilities

 

 

 

 

 

 

 

 

(cont'd. on next page)

 

Monthly Financial Report - Corporate or Partnership Debtor Page 3 of 15
United States Trustee — Western District of Washington (Dee. 2017)

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Debtor S hilo a On, OC éan Shores ,LLC

Case Number
Month Ending

 

20-4234 3-YDL

 

 

January 202)

 

 

 

UST-12, COMPARATIVE BALANCE SHEET (contd.)

 

 

 

As of month ending

 

Pre-Petition Liabilities

 

Unsecured Debt

 

Priority Debt:

 

Taxes

 

Wages

 

Deposits

 

Other

 

Notes Payable (Secured Debt)
Total Pre-Petition Liabilities

 

 

TOTAL LIABILITIES

 

 

 

 

EQUITY

 

Stockholders' Equity (Or Deficit)

 

Capital Stock

 

Paid-In Capital

 

Retained Earnings

 

Total Stockholder’s Equity (Or Deficit)

 

Partner's Investment (Or Deficit)

 

TOTAL LIABILITIES AND STOCKHOLDERS
EQUITY OR PARTNERS INVESTMENT

 

 

 

 

 

Footnotes to balance sheet:

 

 

 

 

Monthly Financia! Report - Corporate or Partnership Debtor

United States Trustee - Wester District of Washington

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Page 4 of 15
(Dec. 2017)

 
SHILO INN, OCEAN SHORES LLC

Balance Sheet (Income Tax Basis)
Pernod Ending January 31, 2021

Current assets:
Total Cash 370,323.93
Prepaid Expenses 24,996.20
Accounts Receivable 4,506.72
Total current assets 399,826.65
Fixed assets;
Land 861,648.00
Land Improvements 1,640,808.00
Buildings 10,577 ,550,00
Furniture 174,404.00
Fixtures & Equipment 431,799.00
Restaraunt Equip 49,956,00
Signage 131,990.00
Total Gross Fixed Assets 13,862,157.00
Accumulated Depreciation & Amort (9,293 139.00)
Net Fixed Assets 4,569,018,00
Other assets:
Inventory Linens 8,141.00.
Loan Fees 82,316.00
Other Misc Assets 12,000.00
Suspense Account 22,425.00
Total Other Assets 125,882.00
Total Assets 5,094,726.85
LIABILITY AND SHAREHOLDER'S EQUITY
Current liabilities:
Accounts Payable Pre Petition 227,662.29
Accounts Payable Post Petition 66,647.83
Total current liabilities 294,310.12

Long lerm liabilities;
Notes Payable Mortgages
Total Long Term Liabilities

Other Liabilities
Accrued Expenses
Accrued Federal income Tax VW/H
Accrued FICA Taxes

Accrued Employer Federal Payroll Taxes
Accrued Employer State Payroll Taxes

Accrued Local Payroll Taxes
Transient Taxes Payable City
Sales Taxes Payable

Other Liabilities

Tota! Other Liabilities

Shareholder’s: equity:
Prior Year Adjustments
Retained Eamings
Profit (loss) for period
Total shareholder's equity

Case 20-42348-BDL

5,839,362.00
§,839,362,00

251,520.00
2,868.77
2,958.63
3,190.66
790.71
97.96
10,700.64
(341.25)

506,830.00

SS — Ce

(51,770.41)
(1,789,021.00)
22,857.81
(4,817,933.60)

5,094,354 64

Page 1

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Case Number

Debtor Shilo Sinn, Deean Shores, LLC, Month Ending

 

20 -42343- BDL

 

 

 

January 2021

 

 

 

UST-13, COMPARATIVE INCOME STATEMENT

 

 

 

For the month of

 

GROSS SALES

 

Less: Returns and Allowances

 

Net Sales

 

Cost of Sales:

Beginning Inventory

Add: Purchases

Less; Ending Inventory
Cost of Goods Sold

 

GROSS MARGIN

 

Other Operating Expenses:

 

Officers' Salaries

 

Other Salaries/Direct Labor

 

Employee Benefits/Payroll Taxes

 

Insurance

 

Rent

 

General and Administrative

 

NET OPERATING PROFIT (LOSS)

 

Add: Other Income

 

Less: _ Interest Expense

 

Other Adjustments to Income (Explain)

 

Gain (Loss) on Sale of Assets

 

Net Profit (Loss) Before Taxes

 

Income Taxes

 

NET PROFIT (LOSS)

 

 

 

 

 

Notes:

 

 

 

 

Monthly Financia! Report - Corporate or Partnership Debtor

United States Trustee — Wester District of Washington

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(Dec, 2017)

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SHILO INN, OCEAN SHORES, LLC

Income Statement (Income Tax Basis)
For The Period Ending January 31, 2021

 

 

 

 

 

 

 

 

 

 

 

Current Current Prior
Period YTD Year End
REVENUE:
Gross Sales\Revenue 96,711.16 96,711,16 276,965.92
Less: Returns\Discount 0.00 0.00 0.00
Total Revenue 96,711.16 96,771.16 276,965,92
COST OF SERVICE
0,00 0.00 0.00
Total Cost of Service 0,00 0.00 0.00
GROSS PROFIT 96,711.16 96,711.16 276,965.92
OPERATING EXPENSES:
Payroll - Other Employees 38,675.02 36,675.02 102,791.42
Payroll Taxes/Benefits 3,981.37 3,981.37 14,741.94
Repairs and Maintenance 4,636.09 4,836.09 4,912.61
Depreciation & Amortization 0.00 0.00 0.00
Insurance 0.00 0.00 7,145.22
Real Property Tax 0.00 0,00 0.00
Personal Property Tax 0.00 0,00 0.00
Utilities 13,158.37 13,158.37 24,504.88
Travel and Enteriainment 0.00 0.00 0,00
Miscellaneous Operating Expenses (Itemized) 13,402.50 13,402.50 8,652.27
TOTAL OPERATING EXPENSES EXPENSES 73,853.35 73,653.35 162,748.34
Net Galn(Loss) from Operations 22,857.84 22,857.81 414,217.58
Other income and expenses:
Interest Expense 0.00 0.00 0.00
Income 0,00 0.00 6.00
- 0.00 0.00 0.00
0,00 0.00 0.00
Earnings (loss) before Income taxes 22,857.81 22,857.81 114,217.58
Income taxes:
Incame Tax Expense 0.00 0.00 0,00
0,00 0.00 0.00
Net earnings (loss) for period 22,05 781 22,057.81 114,217.58

 

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Case Number 20-4 a34S3-BDL

 

 

 

 

Debtor Shilo San, OCtan Shores LLC Month Ending January 202)
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UST-14, SUMMARY OF DEPOSITS & DISBURSEMENTS

 

 

 

 

INSTRUCTIONS: BEFORE COMPLETING THIS PAGE, prepare a UST-14 CONTINUATION SHEET (see next page) for each bank account
or other source of the debtor's funds. The deposit and disbursement total from each CONTINUATION SHEET will be used to complete this
SUMMARY.

The debtor is responsible for providing an accurate monthly disbursement total for the purpose of calculating its obligation pursuant to 28 U.S.C
Sec, 1930 (a)(6) to pay statutory fees to the United States Trustee. The disbursement total encompasses all payments made by the
bankruptcy estate during the reporting month, whether made directly by the debtor or by another party for the debtor, It includes checks written
and cash payments for inventory and equipment purchases, payroll and related taxes and expenses, other operating costs, and debt reduction,
It also includes payments made pursuant to joint check arrangements and those resulting from a sale or liquidation of the debtor's assets. The
only transactions normally excluded from the disbursement total are transfers within the same reporting month between multiple debtor
accounts.

A fee paymentis due within 30 days after the end of each calendar quarter, or on April 30, July 31, October 31, and January 31, respectively,
Since the amount billed is an estimate, the debtor is responsible for paying the correct statutory fee based on its actual disbursements for the
calendar quarter, or portion thereof the debtor was in Chapter 11. Failure to pay statutory fees to the United States Trustee is cause for
conversion or dismissal of the case. If you have questions computing the disbursement total, contact the Bankruptcy Analyst assigned to your
case at (206) 553-2000.

 

 

Summary of Deposits This Month

 

Deposits from UST-14 Continuation Sheet(s)

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Cash receipts not included above (if any)

 

 

TOTAL RECEIPTS VO Z, FZSF a Canal

 

Summary of Disbursements This Month

a Os
Disbursements from UST-14 Continuation Sheet(s) WZ ‘B, 722 - 3

Disbursements resulting from asset sales out of the ordinary course >-
(see Page 13, Question 1)

 

 

 

Disbursements made by other parties for the debtor (if any, explain) Fe

 

Note: Enter the amount for TOTAL
DISBURSEMENTS here and on Page 2.

TOTAL DISBURSEMENTS LT. o 3, FE 2. 2e>
NET CASH FLOW (TOTAL RECEIPTS MINUS TOTAL
DISSEURSEMENTS) LF, a FZ ‘ 32/ »
S 7 f

At the end of this reporting month, did the debtor have any delinquent statutory fees owing to the United States
Trustee? Yes _| No AXifYes, list each quarter that is delinquent and the amount due.

 

 

 

 

 

 

(UST-14 CONTINUATION SHEETS, with attachments, should follow this page.)

 

Monthly Financial Report - Corporate or Partnership Debtor Page 6 of 15
United States Trustee — Western District of Washington (Dee. 2017)

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Case Number 20-4Y1348- BDL

 

 

 

 

debtor Silo Lun, Ocean Shores LLC Month ending January 2021

 

UST-14, CONTINUATION SHEET
STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS

 

 

 

 

INSTRUCTIONS: Prepare a CONTINUATION SHEET for each bank account or other source of the debtor's funds and attach supporting
documents as indicated on the checklist below.

 

 

 

 

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Depository (bank) name 2 Anke °F, i Cg =

 

 

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Account number 4 Cttiurty. tr ttt Ot SS ES

Purpose of this account (select one):
General operating account
0 General payroll account
0 Tax deposit account (payroll, sales, gambling, or other taxes)
0 Other (explain)

 

 

 

ei 7
Beginning cash balance shi 4 , SU
Add: Transfers in from other estate bank accounts oo

 

Cash receipts deposited to this account 7 Z EF no : Cee

 

 

 

Financing or other loaned funds (identify source) BO .
Total cash available this month 3 2bS Se
Subtract: Transfers out to other estate bank accounts AF—

 

 

: :
Cash disbursements from this account : a
(total checks written pilus cash withdrawals, if any) Ss « Sf ; GS,

Adjustments, if any (explain)

 

 

 

sf? “>

Ending cash balance 7 F ‘oe J . FF
Does this CONTINUATION SHEET include the following supporting documents, as required: Yes No

A monthly bank statement (or trust account statement); PP o

A detailed list of receipts for that account (deposit log or receipts journal); Je o

A detailed list of disbursements for that account (check register or disbursement journal); 5 =

and,

lf applicable, a detailed list of funds received and/or disbursed by another party for the Oo EO

debtor,

 

 

 

- —_
UST-14 CONTINUATION SHEET, Number “2

 

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Bank ofthe Pacific

Real Values. Real Solutions.

SHILG INN OCEAN SHORES LLC
11707 NE AIRPORT WAY
PORTLAND OR 97220-1075

COMMERCIAL ANALYSIS

Beginning Balance

Deposits / Misc Credits
Withdrawals / Misc Debits

** Ending Balance

Service Charge
Average Balance
Average Collected Balance
Minimum Balance
Date Deposits
1/08 94,08
1/08 110.88
1/08 249.76
1/14 110.88
1/14 128.52
1/21 97.66
1/21 132.33
1/21 187.50
Lfay 400.96
1/25 67.20
1/25 102.28
Date Withdrawals
1/06 84.09
1/15 12,86
Date Balance Date
1/06 Eee. «oh 1/14
1/08 1,273.07 Ly/is

OCEAN SHORES BRANCH

Account Number:
Statement Date:

SHILO INN OCEAN SHORES LLC

1/01/21 1,602.44
11 1,682.44

2 156.95
1/31/21 3,127.93
72.86

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1,518

DEPOSITS AND OTHER CREDITS

Activity Description

DEPOSIT
DEPOSIT
DEPOSIT
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OTHER DEBITS AND WITHDRAWALS

Activity Description

HARLAND CLARKE/CHK ORDER
ANALYSIS ACTIVITY

DATLY BALANCE SUMMARY

Balance Date
2,212,896 Led
2y l40.60 Lopes

Page: 1

31645
1/31/21

Acct 27008165

Balance

2,958.45
3,127.83

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USE ROUTING NUMBER FROM YOUR CHECKS FOR AUTOMATIC PAYMENTS. |} CHECKS ANO OTHE ITEMS ARE RECEVED FOR DEPOSIT SUBJECT TO THE PROVISIONS OF THE UNFORM COMMERGAL CCOE ANO ANY APPLOABLE COLLECTION AGREEMENT.
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Case 20-42348-BDL Doc137 Filed 02/17/21 Ent. 02/17/21 17:44:59 Pg. 13 of 47
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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PORTLAND, OR 97225-5019 a 21/24
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Case 20-42348-BDL Doc137 Filed 02/17/21 Ent. 02/17/21 17:44:59 Pg. 14 of 47
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USE ROUTING NUMBER FROM YOUR CHECKS FOR AUTOMATIC PAYMENTS. || CHECKS AND OTHER ITEMS ARE RECEIVED FOR DCPOST SUBJECT TO THE PROVISIONS OF THE UNIFORM COMMERCIAL CODE AYO ANY APPUCABLE COLLECTION AGHEENENT,
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USE ROUTING NUMBER FROM YOUR CHECKS FOR AUTOMATIC PAYMENTS. || CHECKS ANO OTHER [TEMS ARE RECEIVED FOR DEPOS\T SUEVECT TO THE PROVISIONS OF THE UNIFORM COMMERCIAL CODE AND ANY APPLICABLE COLLECTION AGREEMENT.
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Case Number 10- -BDL

 

 

 

Debtor S\k\\o Linn, Ocean Shores, LLC Month Ending Sanuary 2.02 |

UST-14, CONTINUATION SHEET
STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS

 

 

 

 

 

INSTRUCTIONS: Prepare a CONTINUATION SHEET for each bank account or other source of the debtor's funds and attach supporting
documents as indicated on the checklist below.

 

 

 

cr VP VP re AAU 7a

pository (bank) name «| ; 7 <a

Account number Le LLLh Lice 2 AE FS
c/

Purpose of this account (select one):

General operating account

O General payroll account

O Tax deposit account (payroll, sales, gambling, or other taxes)
O Other (explain)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Beginning cash balance c= a
Add: Transfers in from other estate bank accounts A
Cash receipts deposited to this account —-
Financing or other loaned funds (identify source) 77 —
Total cash available this month F — =
Subtract: Transfers out to other estate bank accounts a
Cash disbursements from this account <——
(total checks written plus cash withdrawals, if any) =.
Adjustments, if any (explain)
Ending cash balance S. 20
Does this CONTINUATION SHEET include the following supporting documents, as required: Yes No
Amonthly bank statement (or trust account statement); XS 0
A detailed list of receipts for that account (deposit log or receipts journal); Oo ,
Adetailed list of disbursements for that account (check register or disbursementjournal); 5 iO
epoca, a detailed list of funds received and/or disbursed by another party for the Oo py
lebtor,

 

 

UST-14 CONTINUATION SHEET, Number of :

Case 20-42348-BDL Doc137 Filed 02/17/21 Ent. 02/17/21 17:44:59 Pg. 16 of 47

 
CHASE &

January 01, 2021 through January 29, 2021
JPMorgan Chase Bank, N.A. ‘3

P.O Box 182051 Account Number: : 11695
Columbus, OH 43218-2051

 

CUSTOMER SERVICE INFORMATION

 

Web site: www.Chase.com

Service Center: 1-877-425-8100

00145187 DRE 703 219 03021 NNNNNNNNNNN_ 1 000000000 64 0000 Deaf and Hard of Hearing: 1-800-242-7383
SHILO INN, OCEAN SHORES, LLC Para Espanol: 1-888-622-4273
11707 NE AIRPORT WAY International Calls; 1-713-262-1679

PORTLAND OR 97220

 

CHECKING SUMMARY Chase Platinum Business Checking

 

 

 

 

INSTANCES AMOUNT
Beginning Balance $5,00
Ending Balance 0 $5.00

Your Chase Platinum Business Checking account provides:

* Notransaction fees for unlimited electronic deposits (including ACH, ATM, wire, Chase Quick Deposit)
« 500 debits and non-electronic deposits (those made via check or cash in branches) per statement cycle
e $25,000 in cash deposits per statement cycle

e Unlimited return deposited items with no fee

There are additional fee waivers and benefits associated with your account — please refer to your Deposit Account
Agreement for more information.

| SERVICE CHARGE SUMMARY |

 

 

 

Monthly Service Fee $0.00
Other Service Charges $0.00
Total Service Charges $0.00

 

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your staternent or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only; We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the follawing information:

e Your name and account number

e The dollar amount of the suspected error

¢ A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days sot 20 business days for new

accounts) to do this, we will credit your account for the amount you think is in errar so that you will have use of the money during the time it takes
us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
iu must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details. see the

int Rules and Regulations or other applicable account agreement that governs your account, Deposit products and services are offered b'
JPMorgan Chase Banke N.A. Member FD ~ pene P

=} JPMorgan Chase Bank, N.A. Member FDIC

 

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CHAS = = January 01, 2021 through January 29, 2021

Account Number: 1695

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Page 2 of 2

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Case Number 200-Ya 448 - BDL

 

 

Debtor S\,.. \o Lan, Ocean Shores, L ee Month Ending sMenmary , 207 |

 

UST-14, CONTINUATION SHEET
STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS

 

 

 

 

INSTRUCTIONS: Prepare a CONTINUATION SHEET for each bank account or other source of the debtors funds and attach supporting

documents as indicated on the checklist below.

 

 

Depository (bank) name

 

— a es ee dep. Sif oom
LOO (PALO, CS CCE SAM #7 #*

 

Account number Ota SPpbréS, rs Ze . Di fpeetl :
LG45)

Purpose of this account (select one):
> General operating account
1 General payroll account
1 Tax deposit account (payroll, sales, gambling, or other taxes)
O Other (explain)

 

 

Beginning cash balance BRE, / AG Z 7

 

Add: Transfers in from other estate bank accounts

 

o-
Cash receipts deposited to this account Li OZ Z 7 Ye. Ame

 

Financing or other loaned funds (identify source)

 

= a
Total cash available this month oO: Vi, AIS FT

 

Subtract: Transfers out to other estate bank accounts

 

 

Cash disbursements from this account — S
(total checks written plus cash withdrawals, if any) AU ‘FZ $45 e 7

Adjustments, if any (explain)

 

 

Ending cash balance 42 7) 4 ZL. OS

 

 

Does this CONTINUATION SHEET include the following supporting documents, as required:

A monthly bank statement (or trust account statement);

A detailed list of receipts for that account (deposit log or receipts journal);

A detailed list of disbursements for that account (check register or disbursement journal);
and,

If applicable, a detailed list of funds received and/or disbursed by another party for the
debtor.

Yes

WK

No

AS

 

UST-14 CONTINUATION SHEET, Number / of s Zz

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P.O. Box 1800
Saint Paul, Minnesota 55101-0800

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ESTATE OF SHILO INN OCEAN SHORES LLC
DEBTOR IN POSSESSION

BANKRUPTCY CASE # 20-42348-BDL

707 OCEAN SHORES BLVD NW

OCEAN SHORES WA 98569-9345

Account Number:

 

4035
Statement Period:
Jan 4, 2021
through
Jan 29, 2021
»,
yx Page 1 of 5
Tt To Contact U.S. Bank
24-Hour Business
Solutions: 1-800-673-3555
U.S. Bank accepts Relay Calls
Internet: usbank.com

 

 

“Thank you 1 cnpuahg U, IS, Bank. We » would like to inform you mifit upcoming : ctaniOgs that may cvanpects your account. The ofan

below lists account modifications that go into effect beginning January 1, 2021.

To determine if these changes will impact you, review the ‘Analysis Service Charge Detail’ section of this statement for your

current usage of these services. This is typically found on the last page.

If you have any questions or would like to discuss your account options, please call us at 1.800.673.3555. We accept relay

calls,

 

 

: image Statements (Fror 2
Silver Business G ae oe -$8 00”

 

 

 

 

 

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ional Process Fee for U:S. Bank Debit Card | |
2% of the purchase amount

 

 

 

 

 

Case 20-42348-BDL Doc137 Filed 02/17/21 Ent. 02/17/21 17:44:59 Pg. 20 of 47
L5H ROCHE BEY. To keep track of all your transactions, you should balance your account every month. Please
examine this statement immediately. We will assume that the balance and transactions shown are
correct unless you notify us of an error,

itstanding Deposits

\TE 1. List any deposits that do not appear on your statement in the Outstanding Deposits section at
the left. Record the total.

2. Check off in your checkbook register all checks, withdrawals (including Debit Card and ATM)
and automatic payments that appear on your statement. Withdrawals that are NOT checked off
should be recorded in the Outstanding Withdrawals section at the left. Record the total.

 

itstanding Withdrawals Enter the ending balance shown on this statement. $
\TE ‘Enter the total deposits recorded in the Outstanding Deposits section, $
Total lines 3 and 4, $

Enter the total withdrawals recorded in the Outstanding Withdrawals section, §
Subtract line 6 from line 5. This is your balance, $

So on PS

Enter in your register and subtract from your register balance any checks, withdrawals or other
debits (including fees, \f any) that appear on your statement but have not been recorded in your
register,

9. Enter in your register and add to your register balance any deposits or other credits (including
interest, if any) that appear in your statement but have not been recorded in your register,

10. The balance in your register should be the same as the balance shown in #7, Ifit does not
match, review and check all figures used, and check the addition and subtraction in your register
If necessary, review and balance your statement from the previous manth.

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PORTANT DISCLOSURES TO OUR CONSUMER CUSTOMERS

Case of Errors or Questions About Your Checking, Savings, ATM, Debit Card, ACH, Bill Pay and Other Electronic Transfers

‘ou think your statement or receipt is wrang or if you need more information about a transfer on the statement or receipt, we must hear from you no later than 60 days* after we sent you

3 FIRST statement on which the error or problem appeared. Telephone us at the number listed on the front of this statement or write to us at U.S. Bank, EP-MN-YVSSD, 60 Livingston

e., St, Paul, MN 55107.

Tell us your name and account number,

Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why you need more information,

Tell us the dollar amount of the suspected error.

2 Will determine whether an error occurred within 10 business days after we hear from you and will correct any error promptly, If we need more time, we may take up to 45 days to
‘estigate your complaint, For errors involving new accounts, point-of-sale, or foreign-initiated transactions, we may take up to 90 days to investigate your complaint. If we decide to do tnis,
: will credit your account within 10 business days for the amount you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation, If
i ask you to put your complaint or question in writing and we do not receive it within 10 Ousiness days, we may not credit your account.

“Please note: Paper draft and paper check claims must be disputed within 30 days per Your Deposit Account Agreement,

\PORTANT DISCLOSURES TO OUR BUSINESS CUSTOMERS

‘ors related to any transaction on a business account will be governed by any agreement between us and/or all applicable rules and regulations governing such transactions, Including tho
es of the National Automated Clearing House Association (NACHA Rules) as may be amended from time to time. If you think this statementis wrong, please telephone us at the number
‘ed on the front of this statement immediately,

INSUMER BILLING RIGHTS SUMMARY REGARDING YOUR RESERVE LINE

hat To Do If You Think You Find A Mistake on Your Statement

rou think there is an error on your statement, write to us at:

5. Bank, P.O, Box 3528, Oshkosh, WI 54903-3528.

your letter, give us the following information;

Account information: Your name and account number.

Dollar Amount: The dollar amount of the suspected error.

Oescription of problem: \f you think there is an error on your bill, describe whal you believe Is wrong and why you believe itis & misiake.
U must contact us within 60 days after the error appeared on your staternent.

 friust notify Us of any potential errors in writing. You may call us, but if you do we are not required to investigate any potential errors and you may have to pay the amountin question,
jile we investigate whether or not there has been an error, the following are true:

We cannot try to collect the amount in question, or report you as delinquent on that amount.

The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that we made a mistake, you will not have to
pay the amount in question or any interest or other fees related to that amount.

While you de not have to pay the amount in question, you are responsible for the remainder of your balance,

We can apply any unpaid amount against your credit limit,

‘serve Line Balance Computation Method: To determine your Balance Subject to Interest Rate, Use the dates and balances provided in the Reserve Line Balance Summary section.
€ date next to the first Balance Subject to Interest is day one for that balance and is applicable up to (but not including) the date of the next balance (if there is one). We multiply the

lance Subject to Interest by the number of days it is applicable and add them up to get the same number of days in the billing cycle. We then divide the result by the number of billing

ys in the cycle. This is your Balance Subject to Interest Rate, Any unpaid interest charges and unpaid fees are not inciuded in the Balance Subject} to Interest, The ““ INTEREST
1ARGE*™ begins from the date of each advance.

=PORTS TO AND FROM CREDIT BUREAUS FOR RESERVE LINES

2 may report information about your account to credit bureaus. Late payments, missed payments or other defaults on your account may be reflected in your credit report.

SINSUMER REPORT DISPUTES

3 may report information about account activity on consumer and small business deposit accounts and consumer reserve lines to Consumer Reporting Agencies (CRA), As a result, this
iy prevent you from obtaining services at other financial institutions, If you believe we have inaccurately reported information to a CRA, you may submit a dispute by calling 844.624.8230
by writing to: U.S. Bank Attn: Consumer Bureau Dispute Handling (CBDH), P.O, Box 3447, Oshkosh, WI 54903-3447. In order for us to assist you with your dispute, you must provide:

ur name, address and phone number; the account number; the specific information you are disputing; the explanation of why it is incorrect; and any supporting documentation (¢.g.,
idavit of identity theft), if applicable.

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DEBTOR IN POSSESSION
BANKRUPTCY CASE # 20-42348-BDL

Account Number:

 

 

 

 

= 707 OCEAN SHORES BLVD NW 4035
_— OCEAN SHORES WA 98569-9345 Statement Period:
Jan 4, 2021
through
Jan 29, 2021
Page 2of 5
‘S. BANK SILVER - BUSINESS CHECKING Member FDIC
3, Bank National Association Account Numbe: -4035
>count Summary
# Items
:ginning Balance on Jan 4 374,149.29 Number of Days in Statement Period 31
her Deposits 39 102,146.18
her Withdrawals 8 17,715.83-
iecks Paid 68 56,862. 14-
Ending Balance on Jan 31, 2021 401,717.50
ther Deposits
tte Description of Transaction Ref Number Amount
n 4 Electronic Deposit From AMERICAN EXPRESS 3 173.17 |
REF= 210040054347540N00 1134992250SETTLEMENTOCEAN SHRS
n 4 Electronic Deposit ~ From AMERICAN EXPRESS 224.61 |
REF=203660081 784750N00 “:4134992250SETTLEMENTOCEAN SHRS
n 4 Electronic Deposit From AMERICAN EXPRESS 455.56
REF=210040061837880N00 1134992250SETTLEMENTOCEAN SHRS
n. 4 Electronic Deposit - From AMERICAN EXPRESS 946.95
as REF=210040056596190N00 -4434992250SETTLEMENTOCEAN SHRS
n 4 Electronic Deposit From BANKCARD-8566 3,955.17
REF=210040104548950N00 1592126793BTOT DEP 8788
n. 4 Electronic Deposit From BANKCARD-8566 6,191.15
 REF=210040104548960N00 -4592126793BTOT DEP § '8788
n 4 Electronic Deposit From BANKCARD-8566 6,352.15
REF=210040040995980N00 1592126793BTOT DEP 8788
nh 4 Electronic Deposit From BANKCARD-8566 40,427.32
REF=210040056371350N00_- 4592126793BTOT DEP ‘8788
n § Electronic Deposit From AMERICAN EXPRESS 280.18
REF=21 0040144 738920N00 1134992250SETTLEMENTOCEAN SHRS
n- 5 Electronic Deposit. From BANKCARD-8566 Se 297.52
REF=21 0040222003050N00 ~~ -4592126793BTOT DEP 8788
n 6 Electronic Deposit From BANKCARD-8566 558.49
REF=210050156118960N00 1592126793BTOT DEP ‘8788
n. 7% Electronic Deposit From BANKCARD-8566 1,185.09
- REF=210060166949420N00 1592126793BTOT DEP 8788
n 11 Electronic Deposit From BANKCARD-8566 1,296.00
REF=210110034527920N00 1592126793BTOT DEP 18788
n 44. Electronic Deposit From BANKCARD-8566 3,241.17
REF=210110034527930N00 . 1592126793BTOT DEP : 8788
n 11 Electronic Deposit From BANKCARD-8566 3,444.02
REF=210110073643680N00 1592126793BTOT DE} 8788
n 11 Electronic Deposit x From BANKCARD-8566 eae 6,662.76
REF=210110073643690N00 1592126793BTOT. DEP 8788.
n 12 Electronic Deposit From BANKCARD-8566 1,036.44
REF=210110152890910N00 1592126793BTOT DEF 8788
n 13 Electronic Deposit ~~ _. From AMERICAN EXPRESS 177.50
oo... JREF=210120097515930N00 - 1134992250SETTLEMENTOCEAN SHRS
n 13 Electronic Deposit From BANKCARD-8566 1,821,04
REF=21012014541 2740N00 1592126793BTOT DEF 28788
n 14 Electronic Deposit From BANKCARD-8566 678.03
-. REF=210130151151860N00 1592126793BT OF DEI 8788
n 15 Electronic Deposit From AMERICAN EXPRESS 263.89
REF=210140087801570N00 1134992250SETTLEMENTOCEAN SHRS
n 15 Electronic Deposit From BANKCARD-8566 4,615.15
REF=210140143476700N00 15921267938TOT DEP '8788
n 19 Electronic Deposit From BANKCARD-8566 2,196.60
REF=2101 $0050938880N00 1592126793BTOT D 8788
n 19. ‘Electronic Deposit. From BANKCARD-8566 3,690.20
_ REF=21019005651 3360N00° 1592126793BTOT DE 8788

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DEBTOR IN POSSESSION Account! Number:
BANKRUPTCY CASE # 20-42348-BDL ars
707 OCEAN SHORES BLVD NW van
OCEAN SHORES WA 98569-9345 Statement Period:
Jan 4, 2021

through

Jan 29, 2021

Page 30f5

 

‘. Bank National Association
‘her Deposits (continued)

 

rc ~ (CONTINUED)
"Asogunt Number 1-536-6934-4035

 

 

 

 

 

 

 

 

ite Description of Transaction Ref Number Amount
n 19 Electronic Deposit From BANKCARD-8566 7,976.07
REF=210190050938860N00 4592126793BTOT DE 3788
n.19. Electronic Deposit ‘Fram BANKCARD-8566 : 8,750.83
REF=210190050938870N00 1592126793BTOT DE 8788
n 20 Electronic Deposit From BANKCARD-8566 3,523.78
REF=210190208805610N00 1592126793BTOT DEF '8788
n 21Electronic Deposit From BANKCARD-8566050- : i 4489.42
. REF=210200144471420N00 4592126793BTOT DEt 28788
n 22 Electronic Deposit From BANKCARD-8566 1,028.87
REF=21 0210127540410N00 1592126793BTOT DEP 8788
n 25 Electronic Deposit From AMERICAN EXPRESS 288.85
REF=21 0220063879700N00 1134992250SETTLEMENTOCEAN SHRS_
n 25 Electronic Deposit From BANKCARD-8566 2,058.75
REF=210250017497520N00 1592126793BTOT DEP 8788
n 25. Electronic Deposit From BANKCARD-8566 4,465.57
REF =210250052490960N00 - 45921267938TOT DEF ‘8788
n 25 Electronic Deposit From BANKCARD-8566 8,863.44
REF =210250052490850N00 1592126793BTOT DF 3788
n 26 Electronic Deposit = From AMERICAN EXPRESS : 330.25
pce "REF=210250091547380N00 . -44134992250SETTLEMENTOCEAN SHRS:
n 26 Electronic Deposit From BANKCARD-8566 1,299.21
REF=210250142161360N00 1592126793BTOT DE 3788
n 27 Electronic Deposit From AMERICAN EXPRESS = 162.16
REF =210260085671800N00- 1134992250SETTLEMENTOCEAN SHRS
n 27 Electronic Deposit From BANKCARD-8566 2,126.19
REF=210260146441310N00 1592126793BTOT DI 8788
n 28 Electronic Deposit. From BANKCARD-8566 945.80
REF=210270170668680N00 - 1592126793BTOT DE 8788
n 29 Electronic Deposit From BANKCARD-8566 1,666.83
REF=210280174438540N00 1592126793BTOT DE! 28788
Total Other Deposits $ 102,146.18
‘her Withdrawals
ite Description of Transaction , Se) — ——— Ref Number Amount
n 4 Electronic Withdrawal To SYSCO SEATTLE $ 1,077.57-
REF=210040031459520N00 1743065202VENDOR PAYCust #731049
n 4 Electronic Withdrawal To BANKCARD-8566 : 4,810.90-
is _REF=210040054564710N00 1592126793MTOT DISC 8788
n 11 Electronic Withdrawal To BANKCARD-8566 136.28-
_ REF=2104 10034527990N00 41592126793BTOT ADJ '8788
n 15 Analysis Service Charge 4500000000 24.00-
n 22 Electronic Withdrawal To AMEX EPAYMENT 1,140.35-
REF=210210127531290N00 0005000040ACH PMT COP000004694396
n 28° Electronic Withdrawal To WADEPT REVENUE » 10,749. 12-
Bee REF=21 0270080610570Y00 ~. 99160011 18TAX PYMT 5950242 ;
n 29 Electronic Withdrawal To WA DEPT REVENUE 967.42-
REF=210280103977360Y00 9916001118TAX PYMT 6003597
n 29° Electronic Withdrawal To SYSCO SEATTLE = -45810.19-
REF=210280141351260N00 - 4743065202VENDOR PAYCust #737049
Total Other Withdrawals $ 17,715.83-
1ecks Presented Conventionally
1eck Date Ref Number Amount Check Date Ref Number Amount
01 Jan 13 8655203373 133.53 0104 Jan 6 8654323721 1,300.00
02 Jan 7 8954625839 656,01 0105 Jan 4 8053975509 135.50
03 Jan 4 8058782936 5,708.42 0106 Jan 4 8056781614 639.33

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ee tale! aE. DEBTOR IN POSSESSION Account Number:
BANKRUPTCY CASE # 20-42348-BDL

 

  

 

 

 

 

 

 

 

 

 

 

— 707 OCEAN SHORES BLVD NW 4035
—s OCEAN SHORES WA 98569-9345 Statement Period:
Jan 4, 2021
through
Jan 29, 2021
“>
eh Page 4 of 5
‘Ss. BANK SILVER-BUSINESS CHECKING = = — FOIE AE! (CONTINUED)
3, Bank National Association "Accor Numb.
vecks Presented Conventionally (continued)
leck Date Ref Number Amount Check Date Ref Number Amount
07 Jan 21 8952266139 225.93 55356 Jan 7 8954395363 396.32
08 Jan 15 9255125913 240.00 55357 Jan 14 8057067710 316.61
58* Jan 27 8654446380 390.58 55358 Jan 14 8954856474 899.55
15° Jan 5 8355221312 7,125.20 55359 Jan 20 8657514758 1,679.76
16 Jan 7 6955147803 4,545.20 55361* Jan 21 8955029391 523.88
30° Jan 21 8954786561 392.01 55362 Jan 20 8657481103 899.42
37* Jan 20 8657150280 989.09 55363 Jan 20 8657097697 757,39
297" Jan 8 9255532456 605.97 55364 Jan 20 8656795655 920.78
323" Jan 6 865504568 1 739.99 55365 Jan 22 9255278893 229,62
324 Jan 6 8655851904 463.04 55367* Jan 20 8656795508 972.43
326" Jan 4 8058783112 556.36 55368 Jan 20 8657514759 405.32
336” Jan 20 8657399883 295.10 55369 Jan 20 8657150281 1,398.86
337 Jan 13 8655118083 317.59 55371" Jan 21 8955112727 348.18
338 Jan 6 8655851902 474.11 55372 Jan 21 8953550790 806,26
339 Jan 6 8655436818 443.89 55374* Jan 25 8055439491 475.18
340 Jan 6 8655073085 595.09 55375 Jan 22 9255219763 794.59
341 Jan 12 8356952684 525.44 55376 Jan 20 8657365786 363.04
342 Jan 7 8954374005 580.17 55377 Jan 20 8657363726 718.89
343 Jan 7 8954374004 186.36 55379* Jan 21 8955029417 736.49
344 Jan 6 8655705385 990.92 55380 Jan 25 8056894473 632.29
345 Jan 11 8057706109 1,095.78 55381 Jan 26 8355539149 316.61
346 Jan 14 8054612523 365.64 55382 Jan 21 8955112726 569.14
347 Jan 6 8655851903 641.02 55384* Jan 20 8657386330 404,34
348 Jan 11 8058049095 717.72 55386* Jan 22 9253158342 69.35
349 Jan 11 8058238795 223.55 55387 Jan 27 8653598827 1,320,22
350 Jan 7 8954781642 868.16 55388 Jan 27 8654653603 1,679.75
351 Jan 8 9253604407 206.48 55391* Jan 27 8653309741 10.60
352 Jan 14 8058238791 605.51 55392 Jan 29 9255099222 5.71
353 Jan 6 8655815061 477.30 55397" Jan 29 9254629505 5.47
354 Jan 6 8655815062 746.04 55399" Jan 27 8653309742 5.11
355 Jan 6 8655878298 579.11 100018* Jan 29 9255111957 2,419.84
* Gap in check sequence Conventional Checks Paid (68) $ 56,862.14-
ilance Summary
ite Ending Balance Date Ending Balance Date Ending Balance
n 4 392,947.29 Jan 13 385,889.47 Jan 22 400,298.54 —
n 5 386,399.79 Jan 14 385,667.95 Jan 25 414,867.68
n 6 379,507.77 Jan 15 387,282.99 Jan 26 416,180.53
n 7 373,460.64 Jan 19 409,896.69 Jan 27 415,062.62
n 8 372,648.19 Jan 20 403,616.05 Jan 28 405,259.30
n 11 383,831.05 Jan 21 401,503.58 Jan 29 401,717.50
n 12 384,342.05
Balances only appear for days reflecting change.
NALYSIS SERVICE CHARGE DETAIL — PRS nae crea:
count Analysis Activity for: December 2020
Account Number: 1-536-6934-4035 $ 24.00
Account Number: 1-536-6935-0826 $ 0.00
Analysis Service Charge assessed to 1-536-6934-4035 $ 24.00
Service Activity Detail for Account Number E-4035
irvice Volume Avg Unit Price Total Charge

 

‘pository Services

Case 20-42348-BDL Doc137 Filed 02/17/21 Ent. 02/17/21 17:44:59 Pg. 24 of 47
LjNar am. DEBTOR IN POSSESSION A bar
ccount Number:
BANKRUPTCY CASE #20-42348-BDL laa

 

   

 

 

 

 

707 OCEAN SHORES BLVD NW 4035
OCEAN SHORES WA 98569-9345 Statement Period:
Jan 4, 2021
through
Jan 29, 2021
Page 5 of 5
NALYSIS SERVICE CHARGE DETAIL - oe a Ce (CONTINUED)
Service Activity Detail fac Ancoant NaMber or NNN035 (continued)
wvice Volume Avg Unit Price Total Charge
Combined Transactions/Items 102 No Charge
Subtotal: Depository Services 0.00
ire Transfers
Incoming Fedwire 1 14.00000 14.00
Wire Advice Mail: Sersne wee 4 ee 410.00000 10.00
Subtotal: Wire Transfers 24.00
Fee Based Service Charges for Account Number 1-536-6934-4035 $ 24.00.

Case 20-42348-BDL Doc137 Filed 02/17/21 Ent. 02/17/21 17:44:59 Pg. 25 of 47
Payee Location: 5460101660 OCEAN SHRS

Submitting Merchant Submitting Loc Tran Amex Submission Trans Total Credits Discount Fees & Settlement Settlement Settlement
@ 10 Date Date Amount Count Charges Amount Incentives Amount Date *
SUBMISSIONS

460101660 OCEAN SHRS yaiza/2020 12esi2020 $232.42 2 $232.32 30,00 a7.51 $0.20 $224.61 OVvov2021 S66TA7 16
5460101660 OCEAN SHRS V2ra0/2020 1202020 $173.20 4 $179.20 $0.00 $5.83 30,10 $173.17 ovo22024 O01USS78
$460101660 OCEAN SHRS 1231/2020 12/31/2020 $982.57 4 $1,161,777 $179.20 $35.32 $0.30 $946.95 01/04/2021 0025678
546010 16650 OCEAN SHRS ovovan2t OVvoT2024 ‘$468 16 1 3468,16 $0.00 $12.50 $0.40 $455.56 OVo4areo2t OOdO5822
5460101660 OCEAN SHRS O1Vo22021 1/02/2021 $290.06 a $290.08 $0.00 $9.60 $0.20 $260.18 OO52027 OO4F4451
S460 01660 OCEAN SHRS ovioe21 OV veor1 $183.68 1 3183.68 30.00 $6.08 $0.10 $177.50 Oyqsreo2t O12Ra1S7
5460101660 (OCEAN SHRS ont2a021 Ovi2eor1 $273.28 1 $2735.28 $0.00 $9.29 $0.10 $263,859 owiseost o14T2820
8460101660 OCEAN SHRS. Ov202021 OV2o2021 wa 1 $299.37 $0.00 $10.42 $0.10 $288.65 OVves2021 02274422
5460001660 OCEAN SHRS Oivea2021 OV23/2021 $336.22 1 $336.22 $0.00 35,82 S045 $330.25 ON26/2021 O25T0T41
5460101660 OCEAN SHRS Di/f2a/2021 OVe420r1 S168 17 ! $168.11 50.00 $5.85 30.10 $162.16 OV27/2021 O26R4276
5460101660 OCEAN SHRS OV27/2021 Ove72021 $118, 70 1 $116.70 $0.00 34.06 31.10 $192.54 O1/SW2021 O297T3903

Totals $3,529.69 17 = $3,708.89 $179.20 $112.38 $1.65 $3,415.66

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gravity

PAYMENTS

GRAVITY PAYMENTS
$601 22ND AVE NW 200 SEATTLE, WA 98107

    

 

 

  
 

o-= Doewaeee i CraTeAAr:IT
2D PROCESSING STATEMENT

 

 

Page 1 of 7 THIS IS NOTA BILL
Statement Period 01/01/21 - 01/31/21
440728/000004/064832/STMT/40728/0000/241078 000 01 0G0000 Merchant Number as 8788

 

SHILO INN, OCEAN SHORES, LLC
11707 NE AIRPORT WAY
PORTLAND OR 97220-1075

Customer Service 1-877-388-5906

Location:
SHILO INN OCEAN SHORES
707 OCEAN SHORES BLVD NW
OCEAN SHORES WA 98569-9345

 

 

Prd hs overview 31 nace astivty bor: ifve dkatennecn oeldo®.

page 4  § Amounts Submitted $107,624.67
Page 4 Third Party Transactions 0.00
Page 4 Adjustments/Chargebacks -$136.28
Page 4 ~~ Fees Charged | -$2,288.75
Total Amount Funded to Your Bank $105,199.64
See page 2 for Key Definition of Terms

 

 

(Amount Submitted - Third Party) + Adjustments + Chargebacks + Fees Charged = Amount Funded

 

IMPORTANT INFORMATION ABOUT YOUR ACCOUNT
1

 

 

 

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Page 2 of 7

Key Card Processing Terms in Plain Language

Total Amount You Submitted - The total dollar amount of
card transactions submitted and processed during the
Statement Period.

Third-Party Transactions - These are transactions that are
passed directly to third party service providers for processing
and/or funding.

Chargebacks - Those transactions that are challenged or
disputed by a cardholder or card-issuing bank. A Chargeback
equals the transaction amount that is disputed by the cardholder
or card-issuing bank.

Adjustments - The amounts credited to, or deducted from, your
account to resolve processing and billing discrepancies.

Interchange Charges - These are the variable fees charged
by Card Organizations for processing transactions, Factors that
affect Interchange Charges include card type, information
contained in the transaction, and how/when the transaction
was processed,

Total Amount Funded to Your Bank - The total dollar
amount of credited/paid to your account during the Statement
Period.

Merchant Number - The unique account number assigned to
every merchant and merchant location. You'll find it at the top of
your statement.

Fees Charged - Total processing fees calculated and charged
to your bank account for the statement month.

 

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Merchant Number 18788 Paga 3 of 7
Susanne Senvice ETERS Statement Period 01/01/21 - 01/31/21

 

 

 

SUMMARY BY CARD TYPE (Total Sales You Submitted - Refunds = Total Amount You Submitted)

 

 

 

 

 

 

 

Total Gross Sales You Submitted Refunds coe Amount ¥ You Submitted
i oe
Card Type — tems Amount items Amount Amount
MASTERCARD —s | $174.08 252 $42,862.10 _ 10 = $803.38 842,422.44 |
VISA | $208.28 151 $30,672.56 12 Ses ee = ~oe (950.91 |
VISA DEBIT $200.12 go Sb, a —_S1S7BTS —— 534 21. 18)
$224.24

         

$1,793

     

 

“DISCOVER ACO 8 89 0

 

 

 

Peetipai el acauad FUNDED BY BATCH (Amount Submitted - Third Party) + Adjustments + Chargebacks + Fees Charged = Amount Funded
Date Batch Submitted Third Party Adjustments/ Fees Funded |
Submitted Number Amount Transactions Chargebacks Charged a Amount
01/01/21 98000141953 $10,427.32 0.00 0.00 0.00 $10,427.32 |
01/03/21 98000341746 _ $3,955.17 0.00 0.00 0.00 $3,955.17
01/03/21 98000341747 $6,191.15 0.00 0.00 0.00 $6,191.15
01/04/21 98000441754 $297.52 0,00 0,00 0.00 $297.52
01/05/21 98000541474 $558.49 0.00 0.00 0.00 $558.49 |
01/06/21 98000641574 $1,185.09. 0.00 0.00 0.00 $1,185.09 |
01/08/21 98000841576 $3,241.17 0.00 0.00 0,00 $3,241.17 |
01/08/21 98000841577 $1,296.00 0,00 0.00 0.00 $1,296.00
01/10/21 98001041889 $6,662.76 0.00 0.00 0.00 $6,662.76
01/10/24 98001041890 | $3,444.02 0.00 0.00 0,00 $3,444.02
0111/21 98001141956 _ $1,036.44 0.00 0.00 0.00 $1,036.44 |
01/12/21 98001241375 | $1,821.04 0,00 0.00 0.00 $1,821.04
01/13/21 98001341563 $678.03 0.00 0.00 0.00 $678.03 |
01/14/21 98001441495 - $1,615.15 0,00 0,00 0.00 $1,615.15
01/17/21 98001741931 | $7,976.07 0.00 0.00 0.00 $7,976.07 —
01/17/21 98001741932 | $8,750.83 0.00 0.00 0.00 $8,750.83
01/17/21 98001741933 $2,196.60 0.00 0.00 0,00 $2,196.60
01/18/24 98001841947 _ $3,690.20 0.00 0.00 0.00 $3,690.20.
01/19/21 98001941354 _ $3,523.78 0.00 0.00 0.00 $3,523.78 |
01/20/21 98002041535 $1,489.42 0.00 0.00 0.00 $1,489.42
01/24/21 98002141475 $1,028.87 0.00 0.00 0.00 $1,028:87
01/22/21 98002241626 $2,058.75 0.00 0.00 0,00 $2,058.75 |
01/24/21 98002441991 $4,485.87 0.00 0.00 0,00 $4,465.57
01/24/21 98002441992 $8,863.44 0.00 0.00 0.00 $8,863.44
01/25/21 98002541915 $4,299.21 0.00 0.00 0.00 $1,299.21 |
01/26/21 98002641391 $2,126.19 0.00 0.00 0.00 $2,126.19
01/27/21 98002741502 $945.80 0.00 0.00 0.00 $945.80
01/28/21 98002841506 | $1,656.83 0.00 0.00 0.00 $1,666.83
01/29/21 98002941598 $1,930.18 0.00 0.00 0.00 $1,930.18
01/31/21 98003141070 $7,519.26 0.00 0.00 0.00 $7,519.26 |
01/31/24 98003141071 $5,684.32 0.00 0,00 0.00 $5,684,32
10/23/21 010821MOADJ 0.00 0.00 ~$136,28 0.00 -$136.28
Month End Charge 0.00 0,00 0.00 -$2,288.75 -$2,288.75 |
Total $107,624.67 0.00 $136.28 “$2,288.75, $105,199.64

 

 

Case 20-42348-BDL Doc137 Filed 02/17/21 Ent. 02/17/21 17:44:59  Rg@pn290@b7id0728 241080R
 

YOUR CARD PROCESSING STATEMENT

   

‘8788
1-877-388-5906

Page 4 of 7
Statement Period

Merchant Number

Customer Service 01/01/21 - 01/31/21

REMeecuacd SUBMITTED

Date Total
Submitted MASTERCARD VISA VISADEBIT DISCOVER ACQ Submitted
01/34/21 $42,122.44 $28,950.91 $34,621.15 $1,793.89 $107,488.39
Sub Totals $42,122.44 $28,950.91 $34,621.15 $1,793.89 $107,488.39
Total $107,488.39

fie ee PARTY TRANSACTIONS

 

 

Date Description Amount
No Third Party Transactions for this Statement Period
Total 0.00
ADJUSTMENTS/CHARGEBACKS
Date Description Amount
10/23/21 ADJUSTMENT ~136,28
Total Adjustment ~ -136.28
Total -$136.28

xv °@#°°.€0©}]|\..

Date Type
01/31/21 CF
01/31/21 CF
01/31/21 CF
01/31/21 CF
01/31/21 CF
01/31/21 CF
01/31/21 CF
01/31/21 CF
01/31/21 CF
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01/31/21 CF
01/31/21 CF
01/31/21 CF
01/31/21 CF
01/31/21 CF
01/31/21 CF
01/31/21 CF

Description
MASTERCARD
DISC 1
DUES & ASSESSMENTS
AUTHS & AVS
CPU GTWY
INTERCHANGE
NABU FEES
ACQ SUPPORT FEE
CROSS BORDER FEE
MC DISPUTE IMAGE FEE
MC DISPUTE CASE FEE
MC CVC2 FEE
PROCSNG INTGRTY IMAGE FEE
MC KILOBYTE FEE
LOCATION FEE
PRCSNG INTGRTY FNATHV FEE
VISA
DISC 1
AUTHS & AVS
CPU GTWY
INTERCHANGE
ACQ ISA FEE
ACQR PROCESSOR FEES
MISUSE AUTH FEES
INTERNTL ACQUIRER FEE

Volume

375

351
2002.62
2002.52

4

4

8
76
247

232

340.82
232
23
340,82

Rate

0.0700

0.01950
0.00849
0.00600
0.20000
1.35000
0.00250
0.01500
0,00350

0.0700

0,01000
0.01950
0.09000
0.00448

Total

0.00
-55.72

-26.25
-764.09
~6.84
17.01
12,02
-0.20
1.35
-0.02
1.14
-0,87
“1.25
-27.82

0.00

-16.24
-819.78
“3.41
~4,52
-2.07
1,53

 

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Ent. 02/17/21 17:44:59 »R@neQ: Of Advos 241081R
 

 

Merchant Number ‘8788 Page 5 of 7

 

 

 

 

  
  
 

 

Customer Service 1-877-388-5906 Statement Period 01/01/21 - 01/31/21
Date Type Description Volume Rate Total
01/31/21. CF TRAN INTEGRITY FEE 123 0.10000 -12,30
01/31/21 cF FIXED NETWORK CP FEE 1A -2.90
01/31/21 CF ACQ DATA PROC RTN C -0,23
01/31/21 CF CR DUES AND ASSESS 30672.56 0.00140 -42.94
01/31/21 CF FILE TRANSMISSION FEE -0.67
01/31/21 CF INTRNTL ACQ PROC FEE CR -0.02
VS OFLN DB “i
01/31/21 CF DISC 1 0.00
AUTHS & AVS
01/31/21 CF CPU GTWY 313 0.0700 -21.91
01/31/21 CF INTERCHANGE -316.26
01/34/21 CF ACOR PROCESSOR FEES 313 0.01550 485
01/31/21 CF TRAN INTEGRITY FEE 159 0.10000 -15.90
01/31/21 CF ACQ DATA PROC RTN D -0.26
01/31/21 CF DB DUES AND ASSESS 35999.88 0.00130 ~46.80
DCVR ACQ
01/31/21 CF DISC 1 0.00
01/31/21 CF DUES & ASSESSMENTS -2.33
/ AUTHS & AVS
01/31/21 CF CPU GTWY 12 0.0700 -0.84
01/31/21 CF INTERCHANGE -38,16
01/31/21 CF DSCV DATA USAGE FEE 8 0.01950 -0.16
01/31/21 CF DSCV AUTH FEE 12 0,00250 -0.03
01/31/21 CF DISC NETWORK AUTH FEE 42 0.00250 -0.03
Total Card Fees -2268.74
01/31/21 MISC CHARGEBACKS 1 15.000 -15,00
01/31/21 MISC 12B LETTERS 1 5.000 -5.00
= a Total Miscellaneous Fees i er -20.00
Total (Miscellaneous Fees and Card a i ~$2,288.75
' Ss i aes Se eS ——= = = x ;
Fee Type Legend
MISC = Miscellaneous Fees
CF = Card Fees

 

    

 
   

 

 

 

 

 

 

 

INTERCHANGE CHARGES
interchange Cost

Sales Number of Cost Per
Product/Description Total Transactions Rate Transaction

MASTERCARD
WORLD CARD T&E 1,087.39 4 0.0230 0.10
DOMACQ FGN PUR 153.44 1 0.0200 0,00
CP T&E II 4,123.85 4 0.0235 0.10
CORP PROD STD 888.94 5 0.0295 0,10
MCTIPLODG 3,139.04 14 0.0158 0.10
CREDIT REFUND 1 -106.44 2 0.0242 0.00

 

 

 

 

 

 

 

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Merchant Number ‘8788 Page 6 of 7
Customer Service 1-877-388-5906 Statement Period 01/01/21 - 01/31/21

 

 

 

interchange Cost
Cost Per

MASTERCARD

CREDIT REFUND 5 -21.28

CORP REFUND 2 -180.02

WCELITE Tae 2,297.45

ENHANCED TVLIND 4,031.06

COFLEETPURCTE!I 16,061.59

HIGHVAL TRV ENT 448.04

COMM BUS2BUS IL 1,849.18

REGULATEDFDBTCM

BUSINESS L3TE2

MASTERCARD TOTAL 28,172.30
MASTERCARD DEBIT

MC TIP DEBIT 3,203.68

DEBIT REFUND 3 ~13.24

REGREFUND USFA -282.40

REGULATEDFDBTCN 14,178.38

MASTERCARD DEBIT TOTAL 14,086.42
Visa

NON QUAL BUS CR 608.16

VISAVINTRAVLCR 989.13

DOMESTIC STD NQ 24,002.28
- PSIRFT&E CRED 258.04

US CRDT VCR-CN -1,690.51

US CRDT VCR-CM “31.14

CPS REWARDS 4 434.05

US BUS TR1 ELEC
- USVSPELEC —t”~”

US BUS TR2 ELEC

US BUS TR3 ELEC

INTERG ELECTRNC

US BUS TR4 ELEC

VISA TOTAL 28,950.91
VISA DEBIT

CPS HTLCRCPR DB 934.35

EIRF DB 42,832.19 |

US CV DB -1,378,73

HOTEL CAR CP PP 301.39
 EIRFPP 614.69

 

 

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Merchant Number

8786

 

 

Customer Service

     

1-877-388-5906

INTERCHANGE CHARGES

 

Page 7 of 7

 

Statement Period

01/01/21 - 01/31/21

 
  
 
 

 

  

 

 

   
 

 

  

 

  

 

   
 

 

  

 

 

interchange Cost
Sales Number of Cost Per
Product/Description Total Transactions |___Rate__ Transaction
VISA DEBIT
USREGULATEDEIRF 16,523.61 83 0.0005 0.22 -26,52
"REG HTL CAR CP 3,346.73 13 | 0.0005 0.22 -4.53
US BUS CP DB 930.05 4] 00170 0.10
REG BUS CP DB 438,03 2| 0.0005 o22} }8-0.
US COMM RTL PP 78.84 3] 00215 0.10 -1.99
VISA DEBIT TOTAL 34,621.15 173
DISCOVER ACQ
P HTCRRW 979.43 0.0180 0.10 19.12
CMRCL EL 814.46 0.0230 0,10 +19.04
DISCOVER ACQ TOTAL 4,793.89

   

TAX GROSS REPORTABLE SALES BY TIN

 

 

 

 

  
  

 

Total dollar amount of agaregate reportable payment card transactions funded and third party network
transactions, for each participating payee, without regard to any adjustments for credits, cash equivalents
discount amount, fees, refunded arnounts. or any other amounis per respective Lax identification number

 

 

 

 

Month Description € Total
JAN ble Sales - TIN XXXXX2145 $111,328.43
=, Ewen.

bis. 188 Reportable Sales $111,328.43.

 

 

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2/16/2021 4:30:49PM

 

Shilo Other Page |
Check/Payment Register Report (BK3030)
From Bank Code (DIP4035] ‘Yo [DIP4035]
From Payment Date (1/1/2021] To [1/31/2021]
From Application [] To [ZZ]
Print [Details and Summary]
Sort by [Payment Number]
Print Missing Check Numbers [No]
Select Payment Type [All, Check, EFT, Cash, Credit Card, Transfer, Service Charge, Other]
Include Reconciliation Status [All, Cleared, Reversed, Outstanding, Alignment, Non-Negotiable, Continuation, Not Posted, Printed, Void, Cleared with Write-Off, Cleared with Bank Error]
Payment Payment/ Sree. Rec. Ree. Vendor/Payee Payee Bank Payment
Number Reversal Date Appl. Status Posted Code Name Amount
Bank; DIP4035 - US Bank DIP Ocean Shores
Payment Type: Check
108 1/5/2021 AP OS Na 20760 MICHAEL MCCLURE 240,00
109 1/13/2021 AP OS No 17860 GRAYS HARBOR PUD 12,533.66
100000 1/26/2021 AP VD No 11900 BOOKING.COM B.V. 0.00
100000 1/26/2021 AP RY Yes 11900 BOOKING.COM B.V. 5,172.71
100000 1/26/2021 Ar RY Yes 11900 BOOKING.COM B.V. -$,A72.71
100001 1/26/2021 AP OS No 13500 CENTURYLINK - Acct #0277 247.39
100001 1/26/2021 AF YD No 13500 CENTURYLINK - Acct #0277 0.00
100002 1/26/2021 AP VD No 13520 CENTURYLINK - Acct #0347 0.00
100002 1/26/2021 AP OS No 13520 CENTURYLINK = Acct #0347 406.27
100003 1/26/2021 AP OS No 30860 CENTURYLINK - Acct #1895 665.20
100003 1/26/2021 AP VD No 30860 CENTURYLINK - Acct #1895 9.00
190004 1/26/2021 AP WD No 31360 CITY OF OCEAN SHORES. - Acct #6435000 0.00
100004 1/26/2021 AP OS No 31360 CITY OF OCEAN SHORES - Acct #6435000 72.30
100005 1/26/2021 AP OS No 31380 CITY OF OCEAN SITORES - Acct #6439000 $224.45
100005 1/26/2021 AP VD No 31380 CITY OF OCEAN SHORES - Acct #6439000 0.00
100006 1/26/2021 AP VD No 14640 CLARK SIGNS 0.00
100006 1/26/2021 AP OS No 14640 CLARK. SIGNS 1,300.00
100007 1/26/2021 AP OS No 14760 COAST COMMUNICATIONS CO 904.60
100007 1/26/2021 AP VD No 14760 COAST COMMUNICATIONS CO 0.00
100008 1/26/2021 AP VD No 15860 DIRECT TV 0,00
100008 1/26/2021 AP OS No 15860 DIRECT TV 4.25
100009 1/26/2021 AP O88 No 16180 ECOLAB 135.50
100009 1/26/2021 AP VD No 16180 ECOLAB 9.00
Loon10 1/26/2021 AP WD No 16680 EXPEDIA INC 0.00
100010 1/26/2021 AP OS No 16680 EXPEDIA INC 4,542.40

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Shilo Other Page 2
Check/Payment Register Report (BK3030)
Payment Payment/ Sree. Ree. Rec. Vendor/Payee Payee Bank Payment
Number Reversal Date Appl. Status Posted Code Name Amount
100011 1/26/2021 AP OS No 17840 GRAYS HARBOR PLUMBING 2,216.25
100011 1/26/2021 AP WD No 17840 GRAYS HARBOR PLUMBING 0.00
100012 1/26/2021 AP VD No 18040 HARBOR DISPOSAL INC 0,00
100012 1/26/2021 AP RV Yes 18040 HARBOR DISPOSAL INC T9248
100012 1/26/2021 AP RV Yes 18040 HARBOR DISPOSAL INC -~TILAR
100013 1/26/2021 AP OS No 24620 SCEPTRE HOSPITALITY RESOURCES, INC - Acct #OCE-98569 657,43
100013 1/26/2021 AP VD No 24620 SCEPTRE HOSPITALITY RESOURCES, INC - Acct HOCE-98569 0.00
100014 1/26/2021 AP VD No 25740 SKYTOUCH INTERNATIONAL, INC 0,00
100014 1/26/2021 AP OS No 25740 SKYTOUCH INTERNATIONAL, INC 493.13
100015 1/26/2021 AP OS No 29580 WASHINGTON AUTOMATED INC - Acct #4060 338.21
100015 1/26/2021 AP VD No 29580 WASHINGTON AUTOMATED INC - Acct #4060 0.00
100016 1/26/2021 AP WD No 32400 WORLD CINEMA INC - Acct #55443 0.00
100016 1/26/2021 AP OS No 32400 WORLD CINEMA INC - Acct #85443 2,692.20
100017 1/26/2021 AP OS No 23660 PROPANE ETC. 7,946.10
100017 1/26/2021 AP VD No 23660 PROPANE ETC. 0.00
LOOO18 1/26/2021 AP VD No 10400 ADVANCED REEF MANAGEMENT 0.00
100018 1/26/2021 AP O08 No 10400 ADVANCED REEF MANAGEMENT 2,419.84
100019 1/25/2021 AP OS No 14300 CITY OF OCEAN SHORES - Taxes 900.87
18220929 1/26/2021 AP OS No 29720 WASHINGTON DEPT OF REVENUE - Acct #5249686 967.42
18270365 1/25/2021 AP OS No 29720 WASHINGTON DEPT OF REVENUE = Acct #5249686 10,749.12
Total for Payment Type: 50,656.59
Payment Type: = Other
PYOOOO0049 1/29/2021 AP OS No 11900 BOOKING.COM B.V. 5,172.71
PYOO00H052 1/29/2021 AP OS No 26880 SYSCO FOOD SERVICE OF SEATTLE - Acct #737049 1,810.19
PYOO000053 1/29/2021 AP OS No 30620 Berkshire Hathaway Homestate Co 174,37
PYO0000054 1/26/2021 AP OS No 18040 HARBOR DISPOSAL INC 792.48
PYO0000055 1/29/2021 AP RV Yes 11900 BOOKING.COM B.V. B72)
PY00000055 1/29/2021 AP RV Yes 11900 BOOKING.COM B.V. -5,172.71
PY00000070 1/4/2021 AP OS No 26880 SYSCO FOOD SERVICE OF SEATTLE - Acct #737049 L,077.57
PY00000074 1/22/2021 AP OS No 32640 American Express 1,140.35
Total for Payment Type: 10,167.67
Total for Bank: 60,824.26

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Check/Payment Register Report (BK3030)

Shilo Other

 

 

Payment Summary By Bank
Rec. Number Bank Payment
Status of Payments Amount
Payment Type: Check
Os 22 50,656.59
RV 2 0.00
VD 19 0.00
Total: 43 50,656.59
Payment Type: Other
Os 6 10,167.67
RV | 0.00
a a 10,167.67
Total for Bank: Oey 60,824.26

Reconciliation Status Legend:

NP: Not Posted PR: Printed
CO; Continuation RY: Reversed
VD: Void OS: Qutstanding

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AW: Non-negetiable
Cl: Cleared

AL: Alignment

CW: Cleared with Write-Of
CR: Cleared with Bank Error

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Page 3
Ocean Shores -095

First Name Last Name _ CK# PayDate NetPayment Employee Status CLEARED
| | ; as 56337 01/06/2021 $317.59 Active 01.13.2021
=r 2 55338 01/06/2021 $474.11 Active 01.06.2021
—= P= 4 55339 01/06/2021 $443.89 Active 01,06.2021
aw zz 55340 01/06/2021 $595.09 Active 01.06.2021
F | = 55341 01/06/2021 $525.44 Active 01.12.2021
ee! P| 56342 01/06/2021 $580.17 Active 01.07.2021
EE. ae 55343. 01/06/2021 $186.36 Active 01.07.2021
at 55344 )=—01/06/2021 $990.92 Active 01,06.2021
7 | 55345 01/06/2021 $1,095.78 Active 01.11.2021
= Sia) 55346 01/06/2021 $365.64 Active 01.11.2021
a || 56347 01/06/2021 $641.02 Active 01,06,2021
ra Saas 55348 01/06/2021 $717.72 Active 01.11.2021
- aa. 55349 01/06/2021 $223.55 Active 01.11.2021
= zy 55350 01/06/2021 $868.16 Active 01.07.2021
Ey fe 2} 55351 01/06/2021 $206.48 Active 01.08.2021
Sz A 4 55352 01/06/2021 $605.51 Active 01.11.2021
an fi 55353 01/06/2021 $477.30 Active 01.06.2021
F ies) 55354 01/06/2021 $746.04 Active 01.06.2021
zz Ae. 95] 55355 01/06/2021 $579.11 Active 01,06.2021
ee a 55356 01/06/2021 $396.32 Active 01.07.2021
= = 55358 01/13/2021 $899.55 Active 01.14.2021
aa i= 4 55359 01/13/2021 $1,679.76 Active 01.20.2021
a ay 55361 01/20/2021 $523.88 Active 01.21.2021
7 es 56362 01/20/2021 $899.42 Active 01.20.2021
aa a 55363 01/20/2021 $757.39 Active 01.20.2021
lz Es 55364 01/20/2021 $920.78 Active 01.20.2021
a = 55365 01/20/2021 $229.62 Terminated 01.22.2021
f | PY 55366 01/20/2021 $234.97 Active

aa =z 55367 01/20/2021 $972.43 Active 01,20.2021
ia 559508) (01/20/2021 $405.32 Terminated 01.20.2021
az Zi 55369 01/20/2021 $1,398.86 Active 01.20.2021
—= id 55370 01/20/2021 $392.01 Active 01.21.2021
ei ES 55371 01/20/2021 $348.18 Active 01.21.2021
=a 1] 56372 01/20/2021 $806.26 Active 01.21.2021
an a 55373 01/20/2021 $989.09 Active 01.20.2021
hy ei] 55374 01/20/2021 $475.18 Active 01.25.2021
ro | ss 55375 01/20/2021 $794.59 Active 01.22.2021
Ea c~ —7 55376 01/20/2021 $363.04 Terminated 01.20.2021
Fe Ss 55377 = 01/20/2021 $718.89 Active 01.20.2021
i m7 55378 01/20/2021 $543.29 Active

es ea 55379 01/20/2021 $736.49 Active 01.21.2021
=z ie 55380 01/20/2021 $632.29 Active 01.25.2021
i es 55382 01/20/2021 $569.14 Active 01.21.2021
aa m7 55383 01/20/2021 $584.25 Active

7 Pe 55384 01/20/2021 $404.34 Active 01.20.2021

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Tristan Eden 55385
— fod 55386
nc mane 55987
a 3 55388

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01/20/2021
01/20/2021
01/27/2021
01/27/2021

$390.58 Active

$69.35 Active
$1,320.22 Active
$1,679.75 Active

$31,775.12

01.22,2021
01.27.2021
01.27.2021
 

Case Number 20 - L AZ 4 3-BDL
Debtor Shilo Dan, Ocean Shotes LLC Monks Brainy Sanuaty 2021

 

 

 

 

 

UST-14, SUMMARY OF DISBURSEMENTS (cont’d.)

 

 

 

Payments on Pre-Petition Unsecured Debt (requires court approval)

 

Did the debtor, or another party on behalf of the debtor, make any payments during this reporting month on

 

pre-petition unsecured debt? Yes No 7 If Yes, list each payment.
Payment Date of court
Payee name Nature of payment Payment date amount approval

 

 

 

 

 

 

 

 

 

 

 

Payments to Attorneys and Other Professionals (requires court approval)

 

Did the debtor, or another party on behalf of the debtor, make any payments during this reporting month to a
professional such as an attorney, accountant, realtor, appraiser, auctioneer, business consultant, or other

professional person? Yes O No
If Yes, list each payment.

 

Payment Date of court
Professional name Type of work performed Payment date amount approval

 

 

 

 

 

 

 

 

 

 

Payments to an Officer, Director, Partner, or Other Insider of The Debtor

 

Did the debtor, or another party on behalf of the debtor, make any payments during _ month to an

 

officer, director, partner, or other insider of the debtor? Yes © No If Yes, list each
payment.
Payment Purpose of
Payee name Relationship to debtor Payment date amount payment

 

 

 

 

 

 

 

 

 

 

 

 

 

INSTRUCTIONS: Use the last column to describe the purpose of each payment, such as gross wages or salary, reimbursement for business
expenses, loan repayment, advance, draw, bonus, dividend, stock distribution, or other reason for the payment (explain).

 

 

 

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Case Number Ad-4A348-BDL
pert Shilo Lnn, Ocean Shores, LLC _ Month Ending January 2°2'\

 

 

 

 

 

UST-15, STATEMENT OF AGED RECEIVABLES

 

 

 

 

INSTRUCTIONS: Complete all portions of UST-15, STATEMENT OF AGED RECEIVABLES, unless the debtor asserts the following two
statements are true for this reporting month:

1) At the beginning of the reporting month, the debtor did not have any uncollected receivables from prior months
which includes both pre-petition and post-petition accounts receivable; and,
2) During the reporting month, the debtor did not have any receivables activity, including the accrual of new

accounts receivable, or the collection or writeoff of accounts receivable from prior months.

Check here |_ if the debtor asserts that both statements are correct and skip to UST-16, STATEMENT OF POST-PETITION PAYABLES, on
the next page.

 

 

Accounts Receivable Aging

 

 

Balance at Current Past due Past due Past due Uncollectible
month end portion 31-60 days 61-90 days | over90 days | receivables
Pre-petition =
receivables 4 BY OP — ‘ 23H 6

 

 

 

 

- o-
rostvattn (220 0) 85-46) —O- | oe \5G-6/%
— &-

TOTALS ¢ 54-72 (5: 3 ¢/ ‘Le

».

 

 

 

 

 

Explain what efforts the debtor made during this reporting month to collect receivables over 60 days past due.

 

Does the debtor have any accounts receivable due from an officer, director, partner, or other insider of the debtor?
If yes, explain.

 

Accounts Receivable Reconciliation

 

- —
Closing balance from prior month x of Gi 2 ' Yo

 

New accounts receivable added this month ys ‘Be iF. SY

 

Subtotal! A : Z Gs. a

 

Less accounts receivable collected ee 2 5: 4 G 27)

 

 

 

 

; in rag
Closing balance for current month Y, De: PD

 

 

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Debtor Dhilo Tun, Gtean Shores, LLC

 

 

UST-16, STATEMENT OF POST-PETITION PAYABLES
PART A - TAXES

 

 

 

 

INSTRUCTIONS: Complete both pages of PART A- TAXES unless the debtor asserts the following statement is true for this reporting month:

At the end of this reporting month, the debtor did not have any unpaid post-petition taxes which includes both current and
delinquent tax obligations.

Check here L] if the debtor asserts the statement is correct, and skip to PART B - OTHER PAYABLES on Page 10.

 

 

Reconciliation of Unpaid Post-Petition Taxes
(1)

 

(2) (3) (4)

Unpaid post-petition

Unpaid post-petition
taxes from prior

 

Post-petition taxes
accrued this month

Post-petition tax
payments made this

taxes at end of
reporting month

 

 

 

Type of tax reporting month (new obligations) reporting month (Column 1+2-3 = 4)
Federal Taxes
Employee withholding taxes ; OF -— “<, = o-

 

FICA/Medicare--Employee

 

 

FICA/Mecicare--Employer

 

_ 4 —_ ao
GOG-FT BGS — 2 | Bes. HH
27 BE ZBZ— z

State Taxes

BLO —
270 —

Other Taxes

 

Unemployment

.

 

 

 

| Dept.ofRevenue of Revenue
Dept. of Labor & Industries 4
Empl. Security Dept. 7 2G.

Local city/county

 

 

 

|

 

 

 

Gambling

 

Personal property

 

 

Real property _

Other lift ZL WA y

 

 

 

 

 

 

Lb,F42-b/ ISD FEZ OY
Total Unpaid Post-Petition Taxes ZB, 1323 .Of

 

 

 

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per Shilo Fann, Deesn Shores, LLC Monhendng | January 2021

 

 

 

 

 

UST-16, STATEMENT OF POST-PETITION PAYABLES
PART A - TAXES (cont’d.)

 

 

 

Delinquent Tax Reports and Tax Payments (post-petition only)

 

Taxing agency Tax reporting period Report due date Payment due date Amount due

Explain the reason for any delinquent tax reports or tax payments:

 

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Case Number = -

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UST-16, STATEMENT OF POST-PETITION PAYABLES
PART B - OTHER PAYABLES

 

 

 

 

 

INSTRUCTIONS: Complete both pages of PART B - OTHER PAYABLES unless the debtor asserts that this statement is true for this
reporting month:

Except for taxes and professional fees disclosed in PART Aand PART C of this report, respectively, the debtor has no other
unpaid post-petition payables from the current reporting month, or from any prior reporting months.

Check here |_| if the debtor asserts the statement is correct, and skip to PART C - ESTIMATED PROFESSIONAL FEES on Page 12.

 

 

Reconciliation of Post-Petition Payables (excluding taxes and professional fees)

 

Closing balance from prior month to Zz, . as

 

New payables added this month FZ FZ Bus

 

Subtotal Y, 2F FZ : o 7

 

Less payments made this month

Ss
ny
X

 

 

Closing balance for this reporting month $ ,, “Le 7 . SF

 

Breakdown of Closing Balance by Age

 

 

Current portion AB, $ H 3. FD
Past due 1-30 days 5

 

Past due 31-60 days om

 

Past due 61-90 days 227127 -SC

 

Past due over 90 days -

 

Total $ VAL LF. SF

 

 

 

 

 

For accounts payable more than 3 due, explain why payment has not been made:
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Debtor

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January 2021

 

 

 

UST-16, STATEMENT OF POST-PETITION PAYABLES
PART B - OTHER PAYABLES (contd.)

 

 

 

INSTRUCTIONS: List each post-petition payable delinquent more than 30 days. Alternatively, attach the debtor's accounts payable aging
reportifthe report: 1) clearly separates pre-and post-petition accounts payable, and, 2) identifies each delinquent payable by vendor name,

invoice date, invoice amount, and payment due date.

 

Delinquent Post-Petition Payables (excluding taxes and professional fees)

 

 

 

 

 

 

 

 

 

Vendor name Invoice date Invoice amount Payment due date
Coast Communications 10/30/2020 452.30 01/13/2021
Sceptre Hospitality Resources 10/31/2020 657.43 01/14/2021
World Cinema Inc 10/21/2020 1,346.10 01/14/2021
Centurylink 10/07/2020 383.74 01/14/2021
Fire Protection Services 10/01/2020 283.77 01/14/2021
Harbor Disposal Inc 10/01/2020 1783.87 01/14/2021

Michael McClure 10/01/2020 120.00 01/14/2021
Royal Cup 10/05/2020 142.13 01/14/2021

 

 

 

*** Dlease note the invoices dated 10/1/2020} 10/07/2020 we justireceived these invoices in December

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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January 2021

 

 

 

UST-16, STATEMENT OF POST-PETITION PAYABLES
PART C - ESTIMATED PROFESSIONAL FEES

 

 

 

 

 

INSTRUCTIONS: Report only post-petition professional fees and expenses.
actual amounts due. ‘If billing statements are not available, use the best information available to estimate the fees and costs.

To the extent possible, use billing statements to report the

 

 

 

Type of professional

Amount of retainer
(if applicable)

Fees and expenses
from prior months

Fees and expenses
added this month

Total estimated
fees and expenses
at month end

 

Debtor's counsel

 

Debtor's accountant

 

Debtor's other professional (explain)

 

Trustee's counsel

 

Creditors’ Committee Counsel

 

Creditors’ Committee other
professional (explain)

 

 

 

 

 

Total estimated post-petition professional fees and costs

 

 

 

 

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United States Trustee — Western District of Washington

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Debtor Shilo Inn, Ocean Shores, LLC Month Ending January 2021

 

 

 

 

 

UST-17, OTHER INFORMATION

 

INSTRUCTIONS: Answer each question fully and attach additional sheets if necessary to provide a complete response, Yes No

 

 

Question 1 - Sale or Abandonment of the Debtor's Assets. Did the debtor, or another party on oO x
behalf of the debtor, sell, transfer, or otherwise dispose of any of the debtor's assets during the

reporting month? Include only sales out of the ordinary course. The debtor must attach an escrow
statement for each sale of real property and an auctioneer's report for each auction.
Escrow Statement

Asset Date of Method of Gross Net Proceeds or Auctioneer's
Description Court Approval Disposition Sales Price Received (&Date) Report Attached?
1.
2
oi
4.
5.
Total

 

Any disbursements made from escrow or trust accounts from the proceeds of the above transactions should also be
included on the line of UST-14 entitled "Disbursements from sales out of the ordinary course.”

 

 

 

 

 

 

 

 

Question 2 - Financing. During the reporting month, did the debtor receive any funds from an x
outside funding source?
Date of Court Approval Amount Source of
funds Date
Recelved
Total
Question 3 - Insider Loans/Capital Contributions. During the reporting month, did the debtor Oo x
receive any funds from an officer, director, partner, or other insider of the debtor?
Date of Court Approval Amount_ Source of
funds Date
Received
Total
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Debtor Shilo Inn, Ocean Shores, LLC Month Ending January 20214

 

 

 

UST-17, OTHER INFORMATION

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Yes | No

Question 4 - Insurance and Bond Coverage. Did the debtor renew, modify, or replace any E &
insurance policies during this reporting month?
Renewals:

Provider New Premium Is. a Copy Attached to this Report?
Changes:

Provider New Premium isa Copy Attached to this Report?
Were any insurance policies canceled or otherwise terminated for any reason during the reporting *
month? If yes, explain. .
Were any claims made during this reporting month against the debtor's bond? Answer No if the = -
debtor is not required to have a bond. If yes, explain. x
Question 5- Personnel Changes. Complete the following:

Full-time | Part-time
Number of employees at beginning of month 20 5
Employees added 0 0
Employees resigned/terminated 0 0
Number employees at end of month 20 5
Gross Monthly Payroll and Taxes | $ 42.656

 

 

Question 6 - Significant Events. Explain any significant new developments during the reporting month.

 

 

Question 7-Case Progress. Explain what progress the debtor made during the reporting month toward

confirmation of a plan of reorganization.

 

 

 

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